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               EXHIBIT C
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                         UNITED STATES OF AMERICA
                    BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:               Lina Khan, Chair
                             Rebecca Slaughter
                             Alvaro Bedoya
                             Melissa Holyoak
                             Andrew Ferguson


In the Matter of

       The Kroger Company                               Docket No. 9428

       and                                              EXPEDITED TREATMENT
                                                        REQUESTED
       Albertsons Companies, Inc.



                     JOINT MOTION TO DISMISS THE COMPLAINT

        Complaint Counsel and Respondents The Kroger Company (“Kroger”) and Albertsons

 Companies, Inc. (together with Complaint Counsel and Kroger, the “Parties”) jointly move to

 dismiss the complaint in the above-captioned matter. On December 13, 2024, Respondents’

 counsel informed Complaint Counsel that Respondents have each terminated the proposed

 acquisition. As set forth in Exhibits A and B, Respondents have both withdrawn their Hart-

 Scott-Rodino Notification and Report Forms filed for the proposed acquisition at issue in the

 complaint and have no intent to refile. The Parties therefore respectfully request that the

 Commission dismiss the complaint because it is now moot.

        The Parties also respectfully request the Commission’s expedited treatment of this

 motion, for two reasons. First, the evidentiary hearing in this matter is scheduled to begin 21

 days after the final resolution of the related federal preliminary injunction proceeding in the

 U.S. District Court for the District of Oregon captioned Federal Trade Commission, et al. v.

 Kroger Company and Albertsons Companies, No 3:24-cv-00347-AN (D. Or.). On
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December 10, 2024, the Oregon court granted Complaint Counsel’s preliminary injunction

motion to block Respondents’ proposed merger, and since that ruling Respondents have each

terminated the underlying merger agreement. The Commission’s prompt action to dismiss the

complaint and resolve this matter would thus conserve the Commission’s limited adjudicatory

resources and help the Parties avoid unnecessary litigation expenses in this forum.

       Second, Kroger has filed a constitutional challenge to the Commission’s administrative

proceeding in U.S. District Court for the Southern District of Ohio captioned The Kroger

Company v. Federal Trade Commission, No. 1:24-cv-00438-DRC (S.D. Ohio), in which Kroger

seeks to preliminarily enjoin this administrative proceeding before it resumes. During a recent

hearing, the Ohio court requested a prompt update after the Oregon court issued its ruling on

Complaint Counsel’s preliminary injunction motion. As shown in Exhibit C, on December 11,

2024, the Commission filed a notice in the Ohio court informing it of the Oregon court’s ruling

and stating that the Commission “expect[s] to submit a status report jointly with Plaintiffs by

December 17, 2024, regarding next steps in this case.” Therefore, the Commission’s prompt

action to dismiss the complaint and resolve this matter would likewise free the Ohio court to

dismiss the case it is adjudicating as moot, and thereby conserve its judicial resources and help

the Parties avoid unnecessary litigation expenses in that forum.

       The Parties therefore respectfully request that the Commission dismiss the complaint on

an expedited basis. A proposed order is attached.




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Dated: December 16, 2024                        Respectfully submitted,

s/ Barrett J. Anderson                          s/ Mark A. Perry
Barrett J. Anderson                             Mark A. Perry
Federal Trade Commission                        Luke Sullivan
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Email: banderson1@ftc.gov                       Telephone: (202) 682-7511
                                                Email: mark.perry@weil.com
Counsel Supporting the Complaint
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                                                767 Fifth Avenue
                                                New York, NY 10053
                                                Telephone: (212) 310-8421

                                                Matthew M. Wolf
                                                Sonia K. Pfaffenroth
                                                Arnold & Porter Kaye Scholer LLP
                                                601 Massachusetts Avenue, NW
                                                Washington, DC 20001
                                                Telephone: (202) 94-6831

                                                Counsel for The Kroger Company

                                                s/ Enu A. Mainigi
                                                Enu A. Mainigi
                                                Jonathan B. Pitt
                                                Beth A. Stewart
                                                A. Joshua Podoll
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                                                Michael G. Cowie
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                                                Counsel for Albertsons Companies, Inc.



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                        UNITED STATES OF AMERICA
                   BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:             Lina Khan, Chair
                           Rebecca Slaughter
                           Alvaro Bedoya
                           Melissa Holyoak
                           Andrew Ferguson


In the Matter of

      The Kroger Company
                                                    Docket No. 9428
      and

      Albertsons Companies, Inc.



                   [PROPOSED] ORDER TO DISMISS COMPLAINT

      This matter comes before the Commission on Complaint Counsel’s and Respondents’ Joint

Motion to Dismiss Complaint. Having considered the motion, it is hereby ORDERED:

      The Joint Motion to Dismiss the Compliant, dated December 16, 2024, is GRANTED and

the complaint is DISMISSED without prejudice.

      By the Commission.


ORDERED:
                                                       _______________________
                                                       April Tabor
                                                       Secretary

Date: __________________
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                Exhibit A
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December 13, 2024


 Premerger Notification Office                   Department of Justice
 Bureau of Competition                           Antitrust Division
 Federal Trade Commission                        Premerger and Division Statistics Unit
 Constitution Center Building                    450 Fifth Street, N.W.
 400 7th St., S.W., 5th Floor, Room 5301         Suite 1100
 Washington, D.C. 20024                          Washington, DC 20530-0001
 (premerger@ftc.gov)                             (premerger@usdoj.gov)

Premerger Notification and Report Form: Acquired Person

Transaction File No. 231-0004

Acquisition by The Kroger Company of Albertsons Companies, Inc.

Dear Sir or Madam:

Please be advised that our client, Albertsons Companies, Inc., hereby withdraws the above-
referenced Notification and Report Form pursuant to 16 C.F.R. § 803.12, effective December
12, 2024.

Please contact me at (202) 383-8135 if I can be of any assistance.

Sincerely,



Edward D. Hassi
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                Exhibit B
       Case 3:23-cv-00459-VC           Document 148-4          Filed 12/24/24       Page 9 of 15
                                                                                             PUBLIC


                                                                      Michael B. Bernstein
                                                                      +1 202.942.5227 Direct
                                                                      Michael.B.Bernstein@arnoldporter.com




                                                                                CONFIDENTIAL

                                                     December 13, 2024


     VIA EMAIL

     Permerger Notification Office                         Department of Justice
     Bureau of Competition                                 Antitrust Division
     Federal Trade Commission                              Premerger and Division Statistics Unit
     Constitution Center Building                          450 Fifth Street, N.W.
     400 7th St., S.W., 5th Floor, Room 5301               Suite 1100
     Washington, D.C. 20024                                Washington, DC 20530-0001
     (premerger@ftc.gov)                                   (premerger@usdoj.gov)



             Re:     Transaction File No. 231-0004 – Acquisition by The Kroger Co. of
                     Albertsons Companies, Inc.

     Dear Sir or Madam:

            Please be advised that our client, The Kroger Co., hereby withdraws the above-
     referenced Notification and Report Form pursuant to 16 C.F.R. § 803.12, effective
     December 12, 2024.

             Please contact me at (202) 942-5227 if you have any questions.

                                                     Sincerely




                                                     Michael B. Bernstein




Arnold & Porter Kaye Scholer LLP
601 Massachusetts Ave, NW | Washington, DC 20001-3743 | www.arnoldporter.com
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                 Exhibit C
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                 CINCINNATI DIVISION



 THE KROGER CO.,

         Plaintiff,
 v.                                                 No. 1:24-cv-00438-DRC
                                                    Hon. Douglas R. Cole
 THE FEDERAL TRADE COMMISSION, et
 al.,
         Defendants.



                      NOTICE OF OREGON DISTRICT COURT DECISION
                        AND WASHINGTON STATE COURT DECISION

       Defendants respectfully provide the Court with notice of the Oregon district court’s

December 10, 2024 decision preliminarily enjoining The Kroger Company (“Kroger”) and

Albertsons Companies, Inc. (“Albertsons”) from consummating the proposed merger pending the

outcome of the administrative proceedings before the Federal Trade Commission (“FTC”). See

Opinion & Order, FTC v. The Kroger Co., No. 3:24-cv-00347-AN (D. Or. Dec. 10, 2024), ECF

No. 521 at 71 (attached as Exhibit A).

       Defendants also provide the Court with notice of the Washington state court’s December

10, 2024 decision permanently enjoining Kroger and Albertsons from consummating the proposed

merger. See Findings of Fact and Conclusions of Law, Washington v. The Kroger Co., No. 24-2-

00977-9 (King Cty. Sup. Ct. Dec. 10, 2024) at 121 (attached as Exhibit B).

       Defendants expect to submit a status report jointly with Plaintiffs by December 17, 2024,

regarding next steps in this case.




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Dated: December 11, 2024            Respectfully submitted,

                                    BRIAN M. BOYNTON
                                    Principal Deputy Assistant Attorney General
                                    Civil Division

                                    BRIAN D. NETTER
                                    Deputy Assistant Attorney General

                                    CHRISTOPHER R. HALL
                                    Assistant Branch Director

                                    /s/ Cassandra M. Snyder
                                    CASSANDRA SNYDER
                                    Trial Attorney
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                                    Counsel for Defendants




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                               CERTIFICATE OF SERVICE

        I hereby certify that on December 16, 2024, I filed the foregoing document electronically
using the FTC’s E-Filing System, which will send notification of such filing to:

                             April Tabor
                             Secretary
                             Federal Trade Commission
                             600 Pennsylvania Ave., NW, Rm. H-113
                             Washington, DC 20580
                             ElectronicFilings@ftc.gov

                             The Honorable D. Michael Chappell
                             Administrative Law Judge
                             Federal Trade Commission
                             600 Pennsylvania Ave., NW, Rm. H-110
                             Washington, DC 20580

     I also certify that I caused the foregoing document to be served via email to as of
December 16, 2024:

       Michael B. Bernstein
       Matthew Wolf
       Sonia Pfaffenroth
       Joshua Davis
       Michael Kientzle
       Jason Ewart
       Yasmine Harik
       Christina Cleveland
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 Counsel for Albertsons Companies, Inc.


                                          s/ Barrett J. Anderson
                                          Barrett J. Anderson

                                          Counsel Supporting the Complaint
